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                                 EXHIBIT A
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                 Exhibit A - Party Appearance Sheet Page 2 of 2



                                   EXHIBIT A

                            PARTY APPEARANCE SHEET


 Name of Parties           Assured Guaranty Corp. and   Both Confirm. Hearing and
                           Assured Guaranty Municipal   Omnibus Hearing
                           Corp. (the “Assured
                           Entities”)
 ATTORNEY 1                Appearance Method            In Person – PR
                           Name                         Casey J. Servais
                           Law Firm                     Cadwalader, Wickersham &
                                                        Taft LLP
                           Email                        casey.servais@cwt.com
                           Phone Number                 (212) 504-6193
                           Docket Entry No. of Notice   ECF No. 143
                           of Appearance
 ATTORNEY 2                Appearance Method            Either in Person in PR or via
                                                        CourtSolutions Speaking
                                                        Line
                           Name                         William J. Natbony
                           Law Firm                     Cadwalader, Wickersham &
                                                        Taft LLP
                           Email                        bill.natbony@cwt.com
                           Phone Number                 (212) 504 6351
                           Docket Entry No. of Notice   ECF No. 3676
                           of Appearance
 ATTORNEY 3                Appearance Method            Either in Person in PR or via
                                                        CourtSolutions Speaking
                                                        Line
                           Name                         Mark C. Ellenberg
                           Law Firm                     Cadwalader, Wickersham &
                                                        Taft LLP
                           Email                        mark.ellenberg@cwt.com
                           Phone Number                 (202) 862-2238
                           Docket Entry No. of Notice   ECF No. 138
                           of Appearance
